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WA/WD PTS-Supplemental
(01/1 5)

UNITED STATES DISTRICT COURT

for
Western District of Washington

Report of Supplemental Violations

 

 

Name of Defendani Date

Rezkhaoi, Maziar August 23, 2016
Name of Judicial Oficer Case Number

The Honorable Mary Alice Theiler, ` 2:15-cr-00395-JLR-1

United States Magistrate Judge

 

Original ()j’ense Date Supervision Commenced
Count l and 3: Mail Fraud

Count 2: Bank Fraud

Count 4: Filing a False Income Tax Retum

October 6, 2015

 

 

 

 

 

Bond Conditions Imposed:

MODIFICATION on October 15z 2015:

 

Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held devices, as directed
by Pretrial Services. You shall not use, consume or possess alcohol or any other product containing
alcohol, including medication, unless prescribed to you by a physician and under the direction of
Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
recommendations as directed by Pretrial Services.

Travel is restricted to the Westem District of Washington, or as directed by Pretrial Services.

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite technology. The defendant shall comply with a curfew as directed by the location monitoring
specialist The defendant shall abide by all program requirements, and must contribute towards the
costs of the services, to the extent financially able, as determined by the location monitoring specialist.
The location monitoring specialist will coordinate the defendant's release with the U.S. Marshals.

Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a
new passport or travel document from any country without permission of the court. If the surrendered
passport is a foreign passport, it shall be forwarded to Immigration and Customs Enforcement if
defendant is convicted of an offense, unless otherwise ordered by the Court.

Provide Pretrial Services with any requested information regarding your financial status, income
sources, and investments. Sign a Release of Information form for Credit Bureau Verification if
requested by Pretrial Services. Defendant shall maintain a single financial account for all financial
transactions and will not apply for any new lines of credit unless approved by Pretrial Services.

Maintain employment, or, if unemployed, actively seek employment as directed by Pretrial Services.

You must contribute towards the costs of the services required by this bond, to the extent you are
financially able to do so, as determined by Pretrial Services.

 

 

 

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¢ Other: Apply for a non-enhanced Washington state driver’s license and provide proof to Pretrial

Services.
MODIFICATION on October 26, 2015:

0 The defendant’s conditions were modified and he was placed on the home detention component of the
Location Monitoring Program after the defendant used cocaine and committed a new fraud offense.

MODIFICATION on March 18, 2016:

¢ The defendant’s conditions were modified and was reduced to from the home detention component to
the curfew component of the Location Monitoring Program with the understanding that he would
participate in Moral Reconation Therapy (MRT).

MODIFICATION on July 7, 2016:

¢ The defendant’s conditions were modified to increase his level of location monitoring from the curfew
component to the home detention component after the defendant used cocaine and had contact with

'Anna O’Leary without permission
PETITIONING THE COURT 0
To incorporate the violations contained in this petition and in all future proceedings with the violations
previously reported to the Court on August 17, 2016 and August 19, 2016.

 

 

The Probation Of`ficer believes that the defendant has violated the following conditions of supervision:

Nature of Noncompliance:

5. Maziar Rezakhani has violated a special the condition of his bond directing him not to have direct or
indirect contact with Anna O’Leary, by having contact with her, on or about July 22, 2016 and July 23,
2016.

6. Maziar Rezakhani has violated a special the condition of his bond directing him not to have direct or
indirect contact with Anna O’Leary, by having contact with her, on or about August 16, 2016.

U.S. Probation Officer Recommendation:
That violation(s) #5 and 6 be added to the previous petition presently before the Court dated
August 17, 2016 and August 19, 2016.

The U.S. Attomey’s Ofi`ice has been notified of this violation and concurs with the recommendation

 

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I declare under penalty of perjury that the foregoing is true and correct.
Executed on this 23rd day of August, 2016.

 

APPROVED:

Connie Smith Christina Lacy

Chief U.S. Probation and U-S- Probatiofl Offlc¢l'
Pretrial Services Of`ficer

BY:

Monique D. Neal
Supervising U.S. Probation Officer

 

 

THE COURT FINDS PROBABLE CAUSE AND DIRECTS:

|] The Issuance of a Summons (conditions of supervision shall remain in effect pending final adjudication)

l'_`] The Issuance of a Warrant under seal (conditions of supervision shall remain in effect pending final
adjudication)

ij To incorporate the violations contained in this petition under seal in all future proceedings with the
violations previously reported to the Court

g To incorporate the violations contained in this petition and in all fixture proceedings with the violations
previously reported to the Court

l:l Other -

Mary Alice Theiler,
United States Magistrate Judge

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' Date

